Case 2:05-CV-02177-SHI\/|-STA Document 44 Filed 07/27/05 Pacje 1 of 7 \ Page|D 56

F\\_ED BY %- '°'o'
IN THE UNITED STATES DISTRICT COURT
FoR THE wEsTERN DISTRICT 0F TENNEssEE 05 JUL 21 m \0: 2d

WESTERN DIVISION
MWS M. GWLD
sAMUEL 1). LEGGETT, et al., ) wm us u‘.il_l§€l mm
Plaintiffs, )
)
v. ) NO. 05-2177 Ma/An
)
DUKE ENERGY CORPORATION, )
et al., )
)
Defeodants. )

 

ORDER DENYING MOTION FOR RECONSIDERATION AND
GRANTING MOTION FOR CLARIFICATION

 

Before the Court is Defendants’ Motion for Claritication or Reconsideration filed on July
1, 2005 . For the reasons set forth below, the Motion for Reconsideration is DENIED and the
Motion for Clarification is GRANTED.

BACKGROUND

On June 17, 2005, Defendants filed a Joint Motion for Extension of Time to Answer or
Otherwise Respond to the Complaint. Defendants requested they be allowed forty-five days after
a ruling on Plaintiffs’ Motion to Remand to answer or otherwise respond to Plaintiffs’
Complaint. The Undersigned entered an Order on June 27, 2005 denying the Motion for
Extension of Time and holding that “Defendants shall answer or otherwise respond to Plaintit`fs’
Complaint within 30 days of service of a Cornplaint and summons.”

Defendants now ask that the Court reconsider denying the June 17, 2005 motion.

Defendants argue that multiple motions are currently pending before the Court, including a

Ti"-is document entered on the docket sheet In

- . C '
with sure se and/or rs(a) Fch D,,Mlance , &.

Case 2:05-cV-02177-SHI\/|-STA Document 44 Filed 07/27/05 Page 2 of 7 Page|D 57

motion to remand, a motion to stay, and a motion before the MDL panel to transfer this case to
the district court in Nevada. Defendants contend, and Plaintiffs do not oppose, that the Court
should grant Defendants an extension of time to answer or otherwise respond to the Complaint
after the motion to remand has been resolved Defendants also request that the Court clarify its
June 27, 2005 Order because “the June 27 Order does not explain why the unopposed motion
was denied.” (Joint Mot. for Clariflcation or Reconsideration, at 2).
ANALYSIS
I. Motioo for Reconsideration

A court’s previous Order should be set aside under Fed. R. Civ. P. 60(b) only if the
moving party proves “(1) [t]he existence of mistake, inadvertence, surprise, or excusable neglect
[and] (2) [t]hat he has a meritorious defense.” Marshall v. Monroe & Sons, Inc., 615 F.Zd 1156,
1160 (6th Cir. 1980). Whether or not to grant Rule 60(b) relief, however, is within the discretion
of the Court. Jacobs v. DeSketler, 465 F.2d 840, 843 (6th Cir. 1972). After due consideration
and becase there has been no mistake or excusable neglect, the Court concludes that the Motion
to Reconsider should be DENIED.

As mentioned above, Defendants argue the Court should reconsider its previous ruling
because there are three motions pending before the Court: a motion to stay, a motion to remand,
and a motion before the MDL panel to transfer this matter to Nevada. The fact that a Motion to
Remand is pending, in and of itself, does not justify delaying the natural progression of a lawsuit.

Motions to Remand are not uncommon in matters with a procedural history similar to this

Case 2:05-cV-02177-SHI\/|-STA Document 44 Filed 07/27/05 Page 3 of 7 Page|D 58

niatter.l Generally, a Motion to Remand pending before the Court does not warrant the relief
requested in Defendants’ Motion.

Fultherrnore, the Court notes that Defendants filed a Motion to Stay Proceedings on April
26, 2005; however, United States District Judge Samuel H. Mays, Jr. has not yet ruled on the
Motion to Stay. The current Motion, if granted, would have the same effect as staying this
action, since Defendants would not answer or otherwise respond to Plaintiffs’ Complaint until
after Judge Mays rules on the Motion to Remand. Since Judge Mays has not concluded that the
matter should be stayed, the Undersigned is not inclined to grant the relief requested since it
would have the same effect as halting the natural progression of this case. As such, the Motion
to Extend the Deadline to Answer is DENIED.

II. Motion for Clarificatiou

F or good cause shown, the Motion for Clarification of the June 27, 2005 Order is
GRANTED. The June 27, 2005 Order Denying Motion to Extend Deadline to Answer is hereby
amended to state that Defendants shall answer or otherwise respond to Plaintiffs’ Complaint

within 15 days of entry of this Order, or within 30 days of service of a Complaint and summons,

S. THOMAS ANDERSON
UNTI`ED STATES MAGISTRATE IUDGE

whichever period is longer.

IT IS SO ORDERED.

Date: 26

 

]This matter was removed to federal court on March 7, 2005 from the Chancery Court of Somerville,
Tennessee. A Motion to Remand was filed on April 6, 2005.

3

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
case 2:05-CV-02177 was distributed by fax, mail, or direct printing on
July 29, 2005 to the parties listed.

 

 

Barbara Walls

CHANCERY COURT7 25 TH IUDICIAL DISTRICT
Fayette County Courthouse

Somerville, TN 38068

Robert B. Wolinsky

HOGAN & HARTSON L.L.P.
555 13th Street7 NW
Washington, DC 20004

John S. Wilder

WILDER & SANDERS
108 E. Court Square
Somerville, TN 38068--143

Shea Sisk Wellford

MARTIN TATE MORROW & MARSTON
6410 Poplar Ave.

Ste. 1000

l\/lemphis7 TN 38119

J ames J. Webb

CRONE & MASON, PLC
5100 Poplar Ave.

Ste. 3200

l\/lemphis7 TN 38137

Douglas Tribble

PILLSBURY WINTHROP LLP
50 Fremont Street

San Francisco, CA 94105

Amy E. Tabor
BAKER BOTTS, LLP
910 Louisiana
Houston, TX 77002

Case 2:O5-cV-02177-SHI\/|-STA Document 44 Filed 07/27/05 Page 5 of 7 Page|D 60

Leslie H. Spiegel

DICKSTEIN SHAPIRO MORIN & OSHINSKY, LLP
2101 L StreetNW

Washington, DC 20037

Heather Skinazi

SlDLEY AUSTIN BROWN & WOOD LLP
555 West Fifth Street

Los Angeles7 CA 90013

.1 effrey M. Shohet

DLA PIPER RUDNICK GRAY CARY US LLP
4365 Executive Dr.

Ste. 1 100

San Diego7 CA 92121

Steven .1. Routh

HOGAN & HARTSON, L.L.P.
555 13th Street7 NW
Washington, DC 20004

Mark R. Robeck
BAKER BOTTS, LLP
910 Louisiana
Houston, TX 77002

Glen G. Reid

WYATT TARRANT & COl\/[BS
P.O. Box 775000

1\/lemphis7 TN 38177--500

Diane Pritchard

MORRISON & FOERSTER LLP
425 Market Street

San Francisco, CA 94105--248

Amy Pepke

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

1\/lemphis7 TN 3 8103--246

Paul Howard Morris

MARTIN TATE MORROW & MARSTON
6410 Poplar Ave.

Ste. 1000

1\/lemphis7 TN 38119

Case 2:O5-cV-02177-SHI\/|-STA Document 44 Filed 07/27/05 Page 6 of 7 Page|D 61

.1 oel 13. Kleinman

DICKSTEIN SHAPIRO MORIN & OSHINSKY, LLP
2101 L StreetNW

Washington, DC 20037

Noah A. Katsell

DLA PIPER RUDNICK GRAY CARY US LLP
4365 Executive Dr.

Ste. 1 100

San Diego7 CA 92121

Michael Kass

PILLSBURY WINTHROP LLP
50 Fremont Street

San Francisco, CA 94105

Mark H. Hamer

DLA PIPER RUDNICK GRAY CARY US LLP
4365 Executive Drive

Suite 1 100

San Diego7 CA 92121

Mark Haddad

SlDLEY AUSTIN BROWN & WOOD LLP
555 West Fifth Street

Los Angeles7 CA 90013

.1 ohn S. Golwen

BASS BERRY & SIMS PLC- Memphis
100 Peabody Place

Ste. 900

1\/lemphis7 TN 38103

.1 ef Feibelman

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/lemphis7 TN 38103

Brian S. Faughnan

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

1\/lemphis7 TN 38103--246

Alan G. Crone

CRONE & MASON, PLC
5100 Poplar Ave.

Ste. 3200

1\/lemphis7 TN 38137

Case 2:O5-cV-02177-SHI\/|-STA Document 44 Filed 07/27/05 Page 7 of 7 Page|D 62

Robert E. Craddock

WYATT TARRANT & COl\/[BS
P.O. Box 775000

1\/lemphis7 TN 38177--500

.1. Gregory Copeland
BAKER BOTTS, LLP
910 Louisiana
Houston, TN 77002

Thomas H. Brill

LAW OFFICE OF THOMAS H. BRILL
65 52 Sagamore Road

Mission Hills, KS 66208

Cannon F. Allen

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

1\/lemphis7 TN 38103--246

Honorable Samuel Mays
US DISTRICT COURT

